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                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF KANSAS

PAMELA RICARD,

                                      Plaintiff,

        vs.                                                   Case No. 5:22-cv-04015-HLT-GEB

USD 475 GEARY COUNTY SCHOOLS SCHOOL
BOARD MEMBERS—Ron Johnson, Kristy Haden,
Anwar Khoury, Jim Schmidt—in their official and
individual capacities; Beth Hudson, Mark Hatcher,
Jason Butler—in their official capacities; REGINALD
EGGLESTON, Superintendent, USD 475 Geary
County Schools, in his official and individual
capacities; and KATHLEEN BRENNAN, Principal,
Fort Riley Middle School, in her official capacity,

                                      Defendants.


                       Motion to Dismiss and Memorandum in Support

        Defendants Ron Johnson, Kristy Haden, Anwar Khoury, Jim Schmidt, Beth Hudson, Mark

Hatcher, Jason Butler, Reginald Eggleston, and Kathleen Brennan move, pursuant to Fed. R. Civ.

P. 12(b)(6), to dismiss plaintiff’s complaint for failure to state a claim upon which relief may be

granted.

                                       Nature of the Case

        Plaintiff Ricard is a middle school math teacher. Ricard was disciplined for intentionally

discriminating against transgender students in her classroom. Following her return to work from

suspension, Ricard proceeded through the five levels of grievance hearings afforded by the

Negotiated Agreement between the District and its teachers—three at various levels of

Administration, one with the Federal Mediation and Conciliation Service, and one with the Board

of Education. The discipline was upheld at each stage, with the Board of Education upheld Ricard’s


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suspension for the same reasons the suspension was first imposed. The Board also denied Ricard’s

request for a religious accommodation to the District’s anti-discrimination, anti-harassment, and

anti-bulling policies.

        Ricard’s Complaint asserts the following claims:

        Count I, Violation of Ricard’s First Amendment Right to Free Speech, Retaliation (under
               § 1983),
        Count II, Violation of Plaintiff’s First Amendment Right to Freedom of Speech Content &
               Viewpoint Discrimination (§ 1983),
        Count III, Violation of Plaintiff’s First Amendment Right to Freedom of Speech Compelled
               Speech, (§ 1983),
        Count IV, Violation of Plaintiff’s First Amendment Right to Free Exercise of Religion (§
               1983),
        Count V, Violation of Plaintiff’s Right to be Free from Unconstitutional Conditions (§
               1983),
        Count VI, Violation of Plaintiff’s Fourteenth Amendment Right to Due Process of Law (§
               1983)
        Count VII, Violation of Plaintiff’s Fourteenth Amendment Right to Equal Protection of the
               Law (§ 1983),
        Count VIII, Breach of Contract (state law)

        This Court addressed the free exercise claim and the “Communication with Parents” policy

in its Memorandum and Order on Ricard’s motion for a preliminary injunction. Doc. 21. The USD

475 Board of Education voted to rescind that policy on May 19, 2022. The minutes from that

meeting will be approved at its meeting June 1, 2022 which will then be submitted to the Court.

Likewise, Ricard retired and left the employment of USD 475 (also reflected in the agenda and

will be reflected in the minutes of the May 19 meeting). Accordingly, Ricard’s free exercise claim

is moot.

        Plaintiff’s remaining claims for money damages and other relief fail because:

1.      Ricard’s speech in the classroom was not protected by the First Amendment,

2.      The District’s anti-discrimination policies do not violate the Free Exercise Clause,

3.      The District is not required to permit Ricard, as a religious accommodation, to discriminate
        on against transgender students the basis of sex/gender,

4.      Ricard was not deprived of due process,

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5.      The Complaint does not state an equal protection claim,

6.      The Complaint does not state a claim for breach of contract, and

7.      The individual defendants are entitled to qualified immunity.

                                         Statement of Facts

       Plaintiff Ricard’s Complaint refer to Student 1 and Student 2. This memorandum refers to

these students as Student E.S. and Student J.K. The initials should better enable the reader to

discern between the students when reviewing the exhibits.

       On a motion to dismiss under Fed.R.Civ.P. 12(b), courts consider the “documents attached

to or referenced in the complaint if they ‘are central to the plaintiff’s claim and the parties do not

dispute the documents’ authenticity.’” Brokers’ Choice of Am., Inc. v. NBC Universal, Inc., 861

F.3d 1081, 1103 (10th Cir. 2017) (quoting Jacobsen v. Deseret Book Co., 287 F.3d 936, 941 n.2

(10th Cir. 2002)). Likewise, A court may take judicial notice of facts that are a matter of public

record and of state court documents. Tal v. Hogan, 453 F.3d 1244, 1264 n.24 (10th Cir. 2006);1

Pace v. Swerdlow, 519 F.3d 1067, 1072 (10th Cir. 2008) (federal court properly considered state

court files without converting a motion to dismiss to a motion for summary judgment). “[F]ederal

courts, in appropriate circumstances, may take notice of proceedings in other courts, both within

and without the federal judicial system, if those proceedings have a direct relation to matters at

issue.” St. Louis Baptist Temple, Inc. v. Fed. Deposit Ins. Corp., 605 F.2d 1169, 1172 (10th Cir.




1
  The Tenth Circuit noted, in Tal v. Hogan,
         However, facts subject to judicial notice may be considered in a Rule 12(b)(6)
         motion without converting the motion to dismiss into a motion for summary
         judgment. See Grynberg v. Koch Gateway Pipeline Co., 390 F.3d 1276, 1278 n. 1
         (10th Cir. 2004) (citing 27A Fed. Proc., L.Ed. § 62:520 (2003)). This allows the
         court to “take judicial notice of its own files and records, as well as facts which are
         a matter of public record.” Van Woudenberg ex rel. Foor v. Gibson, 211 F.3d 560,
         568 (10th Cir. 2000), abrogated on other grounds by McGregor v. Gibson, 248
         F.3d 946, 955 (10th Cir. 2001).
453 F.3d 1244, 1264 n.24
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1979) (citations omitted). The court does so without converting a motion to dismiss into a motion

for summary judgment. Grynberg v. Koch Gateway Pipeline Co., 390 F.3d 1276, 1278 n.1 (10th

Cir. 2004) (citations omitted). The facts below are from the Complaint, Doc. 1, and the documents

attached and expressly incorporated therein. Id. ¶ 92. Defendants reserve the right to dispute these

allegations should this case survive the motion to dismiss.

        1.      The signature line of outgoing emails details USD 475’s policy of

nondiscrimination:

        Notice of Nondiscrimination

        Geary County USD #475 does not discriminate on the basis of race, color, national origin,
        sex, disability, or age in its programs and/or activities and provides equal access to the Boy
        Scouts and other designated youth groups. For questions or complaints based on race,
        color, national origin, sex or age, please contact the USD 475 Executive Director of
        Personnel, 123 N. Eisenhower, Junction City, KS 66441. Telephone: 785.717.4000. For
        questions or complaints based on disability, please contact the USD 475 Executive Director
        of Special Education, 123 N. Eisenhower, Junction City, KS 66441. Telephone:
        785.717.4000.

Doc. 1-1, 1-2, 1-3, 1-5, 1-16, 1-17.

             2. District Policy GAACB provides, in part, that “All employees, students and the

Board of Education are expected to exhibit conduct that reflects dignity, respect and inclusion at

all times during the instructional day and at all other district-sponsored programs and events.” Doc.

1-4., p. 4

        3.      District Policy GAAE-Bullying by Staff, provides:

        The board of education prohibits bullying in any form by any student staff member,
        or parent towards a student or a staff member on or while using school property, in
        a school vehicle or at a school-sponsored activity or event. For the purposes of this
        policy, the term “bullying” shall have the meaning ascribed to it in Kansas law.

Doc. 1-4, p. 4; Doc. 1-18, p. 3. K.S.A. 72-6147(1) defines bullying to include

        Any intentional … verbal … act by any … staff member … towards a student … that is
        sufficiently severe, persistent, or pervasive that such … act … creates an intimidating,
        threatening or abusive educational environment that a reasonable person, under the
        circumstances, knows or should know will have the effect of: (i) Harming a student or staff

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         member, whether physically or mentally ….

         4.    Board Policy GAF-Staff-Student Relations provides, in relevant part, “Staff

members shall maintain professional relationships with students which are conducive to an

effective educational environment.” Doc. 1-4, p. 4; Doc. 1-18, p. 4.

         5.    On March 8, 2021, President Biden issued Executive Order 14021. That Order set

forth a policy that “all students should be guaranteed an educational environment free from

discrimination on the basis of sex, including discrimination in the form of sexual harassment,

which encompasses sexual violence, and including discrimination on the basis of sexual

orientation or gender identity” Exec. Order No. 14021, 86 FR 13803. This includes “discrimination

on the basis of sexual orientation or gender identity. For students attending schools and other

educational institutions that receive Federal financial assistance, this guarantee is codified, in part,

in Title IX of the Education Amendments of 1972, 20 U.S.C. 1681 et seq., which prohibits

discrimination on the basis of sex in education programs or activities receiving Federal financial

assistance.” Id.

         6.    Plaintiff Ricard is a middle school math teacher at Fort Riley Middle School, a

publicly funded school. Doc. 1, ¶ 1.

         7.    During the 2020-2021 school year, Ricard taught all levels of middle school

students—sixth, seventh and eighth grades. Doc. 1, ¶ 95.

         8.    Ricard was informally made aware that a student in her classroom preferred a

different name by a fellow teacher during a hallway conversation in March of 2021. Doc. 1, p. 15,

¶ 103.

         9.    Ricard avers and alleges that, “[t]hroughout her teaching career, including in her

Math Strategies class, [] has regularly used students’ last names instead of first names as a more

formal way of addressing students or getting students’ attention, as circumstances may require.”

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Doc. 1, ¶ 112.

        10.      Ricard uses last names for formal address or to get a student’s attention--not as a

usual form of address. Id.

        11.      Ricard avers that she “addressed Student 1 [E.S.] as “Miss [E.S.’s Legal/Enrolled

Last Name]” when Ms. Ricard needed to get Student E.S.’s attention at the end of class. Doc. 1, ¶

114.

        12.      USD 475 and the Junction City Education Association entered into a formal

agreement for the 2020-2021 SY. This agreement included Article IV to address a grievance

process and Article X to address a teacher discipline process. Doc. 1-8, p. 10-12, 33-35.

        13.      In March 2021, Ricard discussed Student J.K.’ preferred name with teacher Paige

Miller. The Complaint details the conversation as follows:

        100. Ricard approached fellow teacher Paige Miller (“Miller”) after school to ask
        if “[Student J.K.’s Legal First Name]” was still at the school because Ms. Ricard
        had sought to give Student [J.K.] an extra pair of jeans and some extra shirts after
        Spring Break.

        101. During this conversation with Ms. Ricard, Miller repeatedly asked Ms. Ricard
        if Ms. Ricard meant “[Student J.K. Preferred Alternative First Name].”

        102. Ms. Ricard continued to state to Miller she was looking for “[Student J.K.
        Legal First Name].”

        103. Miller eventually told Ms. Ricard that “[Student J.K. Legal First Name]” now
        “goes by” “[Student J.K. Preferred Alternative First Name].”

        104. Ms. Ricard stated, “don’t go there” and then moved on from the conversation
        to look for Student [J.K.].

Doc. 1, ¶¶ 100-104.

        14.      On March 31, 2021, at about 9:56 a.m., Principal Shannon Molt sent an email to

FRMS staff that said:

        Subject: Preferred Names

        Good Morning,

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        When we have a student that requests to go by a preferred name that is different
        than their given name, our district honors the request. Once you are aware of a
        preferred name, use that name for the student.

        Please let me know what question you have.

Doc. 1-1.

        15.    On or about April 4, 2021, Principal Molt included the following instruction to staff

in the Weekly Newsletter: “Preferred Names: When we have a student that requests to go by a

preferred name that is different than their given name. our district honors the request. Once you

are aware of a preferred name, use that name for the student.” Doc. 1-1, p. 23 ¶ 147.

        16.    After receiving the April 7 email from Lubbers, Ricard attempted to address the

issue of preferred names with Assistant Principal Terry Heina. Ricard says she wanted to “ask for

advice on how to address Student [E.S.] as a result of the email when Student [E.S.]’s enrolled

name had not been changed in the Skyward system.” Doc. 1, ¶ 111. Heina reported that he told

Ricard to speak with Principal Shannon Molt about her questions. Doc. 1-2.

        17.    On April 7, 2021, at about 1:33 p.m. Student J.K. emailed Ricard (after class):

        “I don’t know if Mr.lubbers has emailed you about [Student E.S.] ([Legal first
        name]) preferred name and pronouns and im [sic] assuming since you said “miss
        [legal last name]” to him in class he has yet to do so, unless he has and you are
        purposely misgendering/deadnaming him on purpose, which I don’t think you
        would do that purposely but there’s always a possibility. Anyways, His preferred
        name is [E.S.] and his pronouns are He/ Him.

Doc. 1-1, p. 17, ¶ 115.

        18.    On April 8, 2021, around 1:15 p.m., while Ricard was writing the Level 2 discipline

referral for Student J.K., Ricard wrote [Legal First Name] [Legal Last Name] on the form – despite

knowing Student J.K.’s preferred name. Student J.K. wrote a note to Ricard: “[E.S.’s Legal Last

Name] name is [E.S.’s Preferred Name] BTW, his pronouns are He/Him and if you can’t act like

an adult and respect him and his pronouns then prepare yourself to deal with his mother since you

can’t be a decent human being and respect him. All you’re doing right now is showing that you’re

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transphobic and don’t care that your’ being visibly transphobic.” Doc. 1-1, p. 18, ¶ 123.

        19.     On April 8, 2021, at about 1:41 p.m., Ricard forwarded the April 7 email from

Student J.K. to Ass’t Principal Terry Heina, Principal Shannon Molt, and Ass’t Principal Kathleen

Brennan. Ricard advised she gave Student J.K. a Level 2 discipline referral for emailing during

class, scribbling over the discipline referral and throwing it in the trash, and calling Ricard a

homophobe [Note: Student J.K.’s note says transphobic, not homophobic]. Ricard asked to meet

with the student in her room. Doc. 1-1, p. 18, ¶ 124.

        20.     On April 8, 2021, around 3:42 p.m., Counselor Jason Lubbers forwarded his April

7 email to Principal Molt. Doc. 1-1, pp. 18-19, ¶ 126.

        21.     On April 9, 2021, Assoc. Supt. Lacee Sell issued a Notice of Suspension to Pamela

Ricard, suspending Ricard with pay, for three days effective April 12, 2021. Doc. 1-3.

        22.     On April 15, 2021, Principal Molt gave Ricard a Reprimand Documentation Form,

Doc. 1-4, that states:

                Mrs. Ricard has engaged in discriminatory practices. The behavior
        demonstrated by Mrs. Ricard is against the guidance provided by building
        leadership via email on March 31, 2021 and the building’s weekly newsletter on
        April 4, 2021.

                The email and newsletter shared, “when we have a student that requests to
        go by a preferred name that is different than their given name, our district honors
        the request. Once you are aware of a preferred name, use that name for the student.”
        Mrs. Ricard was made aware of one student’s request via an email sent by Mr.
        Lubbers. Mrs. Ricard called the student by their last name instead of their preferred
        name. Mrs. Ricard was made aware of a second student who wanted to use a
        preferred name and pronouns by a colleague. Mrs. Ricard refused to use that
        student’s preferred names and pronouns. She stated in her interview that she would
        not call them by their preferred names and pronouns without getting approval from
        the parents. At the end of the interview Mrs. Ricard stated she would follow the
        policy even though she did not agree with it.

                As an employee of the district, Mrs. Ricard participated in the building
        diversity and inclusion policy training. Even though it was self-directed for her
        because she was absent when building leadership conducted it, the policy is clear
        on the board’s expectations of staff and students of the district.


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       The form specifically notes the following:

       Board Policy GAACB-Diversity and Inclusion …
       o The student preferred name was not used by Mrs. Ricard.

       Board Policy GAAE- Bullying by Staff …
       o Students felt discriminated against based on the teacher not using the preferred
       names.

       Board Policy GAF-Staff-Student Relations …
       o Student (E.S.) was not called by his preferred name after Mrs. Ricard received
       notification emails from a student and the counselor. Prior to the notification, Mrs.
       Ricard called the student by their legal name. After notification, Mrs. Ricard called
       the student by their last name.

Ricard initialed the form and wrote: “I do not agree with this!” Doc. 1-4.

       23.     On April 20, 2021, Ricard sent a written rebuttal to the 4-15-21 Reprimand

Documentation Form to Assoc. Supt. Lacee Sell. Throughout the rebuttal, Ricard continually

referred to Student J.K. as his legal first name rather than his preferred name. Doc. 1, p. 21, ¶ 138;

Doc. 11-15, pp. 49-53.2 Ricard’s rebuttal (1) confirms she intentionally refrained from using the

preferred name of transgender students and (2) does not deny treating the transgender students

differently from cisgender students in terms of means of address (first names versus last names).

       24.     On April 28, 2021, Ricard file a Legal 1 and 2 Grievance. Doc. 1, p. 22, ¶ 141.

       25.     After discussion on May 3, 2021, Principal Molt documented the meeting in an

email stating the written reprimand would go forward on May 4, 2021. Doc. 1, p. 22, ¶¶ 142-43.

       26.     On May 12, 2021, Ricard submitted a Level 3 Grievance. Doc. 1, p. 22, ¶ 144.

       27.     On May 19, 2021, Supt. Reginald Eggleston responded to the Level 3 Grievance

relaying that Ricard’s conduct was not a minor infraction (which would require counseling and an


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  When plaintiff does not incorporate by reference or attach a document to its complaint, but the
document is referred to in the complaint and is central to the plaintiff’s claim, a defendant may
submit an indisputably authentic copy to the court to be considered on a motion to dismiss. GFF
Corp. v. Associated Wholesale Grocers, Inc., 130 F.3d 1381, 1384 (10th Cir. 1997). Ricard’s
Rebuttal document is explicitly referenced in the complaint at ¶ 138. That rebuttal was (1) attached
to Ricard’s Level 5 Grievance submission, and filed with the court on April 29, 2022. Doc. 11-14.
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oral reprimand before issuing a written reprimand).

        “[T]he events leading up to the date of the cause of action on April 15, 2021, are
        not of a minor nature. The building leadership provided communication on multiple
        days via email and the building newsletter advising staff to utilize the preferred
        names of students. The communication came from the district office and was
        presented to staff by the building administration. Several staff members advised
        you of the preferred names of students and students provided notification of the
        preferred names they wished to go by.

        “[T]he incident was not of a minor nature. The district has an obligation as
        educators to ensure that our students are provided with a safe and secure
        environment. When someone engages in conduct that is deemed to be in a
        discriminatory nature, action must be taken and cannot be limited to a counseling
        or an oral reprimand. The counseling in this incident had already occurred when
        the building leadership provided the email notification to staff on March 31, 2021
        and through the Trooper Newsletter on April 4, 2021.

        “During the investigation, the district received statements that Mrs. Ricard had been
        notified by fellow staff members of the preferred names of students in her Math
        Strategies class. Mrs. Ricard did not make any attempts to utilize the preferred
        names when notified by staff.”

Doc. 1-9.

        28.    On May 21, 2021, Ricard, via Dana Wiegand (JCEA President) requested a Level

4 Grievance. Doc. 1, p. 23, ¶ 149.

        29.    On July 8, 2021, Attorney Joshua A. Ney sent a letter to USD 475, c/o Supt.

Reginald Eggleston, that included a “request for a religious accommodation regarding any school

policy that requires a teacher or school employee to actively state or otherwise use a student’s or

any other person’s preferred pronouns or other gendered language when different from the

student’s or person’s biological sex.” Doc. 1-10.

        30.    On August 4, 2021, Attorney Ney sent a letter to the Board of Education outlining

Pamela Ricard’s arguments to the Board of Education; the letter enclosed a “proposed neutrally

applicable gendered policy procedure and accommodation language” Doc. 1-11, Doc. 1-12.

        31.    On August 11, 2021, the Board of Education issued its written decision on Ricard’s

grievance. The decision notes:

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        1.     The persons pertinent to the grievance went into executive session,

        2.     Grievant Ricard addressed the Board,

        3.     Grievant’s attorney, Joshua Ney, presented oral and written arguments to
        the Board,

        4.     The JCEA Chair, Catherin Coughlin, presented comments to the Board,

        5.    USD 475 presented comments from Kathleen Brennan, Reginald Eggleston
        and Mark Edwards.

The Board denied the grievance and adopted the reason in Supt. Eggleston’s letter dated May 19,

2021. Doc. 1-14.

        32.    On August 12, 2021, Attorney Ney emailed USD 475 Counsel Mark Edwards and

Supt. Reginald Eggleston asking when a written decision would be issued and inquiring of the

status of Ricard’s accommodation request. Doc. 1-13.

        33.    At its regular meeting on September 7, 2021, the Board of Education, by public

motion and vote, denied the Level 5 Grievance by Pamela Ricard and “[i]n denying the grievance

of Pam Ricard, the Board of Education adopts and approves the reasoning of Superintendent Dr.

Reginald Eggleston set out in his letter to the grievant dated May 19, 2021.” The Board of

Education also voted by deny “the request by Pamela Ricard for a religious accommodation set

forth in her July 8, 2021, letter to USD 475.” Doc. 1, p. 30, ¶¶ 183-84.

        34.    Also on September 7, 2021, the Board of Education also amended Policy GAACB

(Diversity and Inclusion) and Policy JGECB (Student Diversity and Inclusion), to add one

sentence to each of the policies: “Students will be called by their preferred name and pronouns.”

Doc. 1, p. 31, ¶ 187,

        35.    On October 8, 2021, at about 10:57 a.m., Principal Brennan emailed FRMS staff,

advising of the revision to policy that explicitly address preferred names, and advising that Supt.

Eggleston had emailed parents and guardians the afternoon of October 7 the following:


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                On September 7, 2021, the USD 475 Board of Education adopted an
        addition to the district Diversity and Inclusion Policy. USD 475 is committed to
        creating an educational environment that embraces diversity, equity, empathy, and
        inclusion for all students. This policy includes, “Respectful communication,
        inclusion, and cooperation between and among all students and staff.”

        The addition to this policy is the statement: Students will be called by their
        preferred name and pronoun. This means if a student makes a request of a staff
        member to call them by a name other than their legal name as noted in the student
        information system- Skyward, the staff member(s) will respect the student’s wishes
        and refer to them with the indicated preferred name. USD 475 will not
        communicate this information to parents unless the student requests the
        administration or counselor to do so, per Federal FERPA Guidance. The entire
        Diversity and Inclusion policy, JGECB may be found on page 523 of USD 475
        Board     Policy-    09-2021-KASB-June-updates-BOE-           approved-9.7.21pdf
        (usd475.org) Thank you for your support of our students and staff.

Doc. 1-16, p. 2.

        36.    The USD 475 Board of Education voted to rescind the Communication with Parents

Policy on May 19, 2022. The minutes from that meeting will be approved at its meeting June 1,

2021 which will then be submitted to the Court.

        37.    Ricard retired and left the employment of USD 475. Doc. 27-1, Agenda Special

Board of Education Meeting Thursday, May 19, 2022, p. 6 (Schedule of Certified Personnel

Retiring Certified Personnel Retiring at the End of the 2021 – 2022 School Year).

                                        Issues Presented

1.      Whether Ricard’s “speech” regarding mode of addressing middle school students, in school
        during a math class is government speech unprotected by the First Amendment? It is.

2.      Whether Ricard’s rights under the Free Speech and Free Exercise Clauses of the First
        Amendment require that a school permit her to discriminate against transgender students
        on the basis of sex/gender? They do not.

3.      Whether Ricard’s free exercise claim is moot? It is.

4.      Whether Ricard was deprived of due process? She was not.

5.      Whether the Complaint states an equal protection claim? It does not.

6.      Whether the Complaint states a claim for breach of contract. It does not.

7.      Whether the individual defendants are entitled to qualified immunity? They are.

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                                    Argument and Authorities

I.      Standard for a Motion to Dismiss

        When ruling on a motion to dismiss under Rule 12(b)(6), the Court assumes as true all

well-pleaded factual allegations and views them in the light most favorable to the nonmoving party

to determine whether they plausibly give rise to an entitlement of relief. Ashcroft v. Iqbal, 556 U.S.

662, 679 (2009). The pleading standard arising from the decisions in Bell Atlantic Corp. v.

Twombly, 550 U.S. 544 (2007), and Ashcroft v. Iqbal, require that a complaint plead facts sufficient

to show that the claims have substantive plausibility. This standard emphasizes the tenet that a

court must accept as true all of the allegations contained in a complaint; but this tenant is

inapplicable to legal conclusions, which instead must be supported by facts. Iqbal. at 679–80.

        A facially plausible claim exists where the complaint pleads factual content from which

the court can reasonably infer the defendants are liable for the misconduct alleged. Iqbal, 556 U.S.

at 678. Plaintiffs must show more than a sheer possibility that defendants have acted unlawfully—

it is not enough to plead facts that are “merely consistent with” defendants’ liability. Id. (quoting

Twombly, 550 U.S. at 557). Labels, conclusions, formulaic recitation of the elements of a cause of

action, and/or naked assertions devoid of further factual enhancement will not stand. Iqbal, 556

U.S. at 678.

        A complaint must contain sufficient factual matter to state a claim which is plausible—not

merely conceivable—on its face. Iqbal. at 679–80. The court draws on its judicial experience and

common sense. Iqbal, 556 U.S. at 679. The Court need not accept as true those allegations which

state only legal conclusions. See id.; Hall v. Bellmon, 935 F.3d 1106, 1110 (10th Cir. 1991).

Plaintiffs must frame the complaint with enough factual matter to suggest that they are entitled to

relief. Twombly, 550 U.S. at 556. Threadbare recitals of a cause of action accompanied by

conclusory statements are not enough. Twombly, 550 U.S. at 556.


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II.     Plaintiff Ricard’s speech was not protected by the First Amendment.

        Plaintiff is employed at a public school as a teacher. A government entity has broad

discretion to restrict speech when it acts in its role as employer, but the restrictions it imposes must

be directed at speech that has some potential to affect the entity’s operations. Garcetti v. Ceballos,

547 U.S. 410, 418 (2006). Here, the policies at issue are directed to how students are addressed

and treated while in school or during school-sponsored activities.

        A.     Plaintiff Ricard’s speech was:
               (1) Government speech over which the District may exercise editorial control
               or, alternatively,
               (2) School-sponsored speech over which the school may exercise editorial
               control reasonably related to legitimate pedagogical concerns.

        “[A] public employees do not surrender all their First Amendment rights by reason of their

employment. Rather, the First Amendment protects a public employee’s right, in certain

circumstances, to speak as a citizen addressing matters of public concern.” Garcetti, 547 U.S. at

417. However, the interests of public employees in commenting on matters of public concern must

be balanced with the employer’s interests “in promoting the efficiency of the public services it

performs through its employees.” Pickering v. Bd. of Educ., 391 U.S. 563, 568 (1968); see also

Garcetti, 547 U.S. at 420 (“The Court’s decisions, then, have sought both to promote the individual

and societal interests that are served when employees speak as citizens on matters of public

concern and to respect the needs of government employers attempting to perform their important

public functions.”). To balance the competing interests, courts developed the five-step

Garcetti/Pickering test:

        (1)    Was the speech was made pursuant to an employee’s official duties?
        (2)    Was the speech was on a matter of public concern?
        (3)    Do the interests of the government/employer in promoting efficiency of public
               service outweigh the plaintiff’s free speech interests?
        (4)    Was the protected speech a motivating factor in the adverse employment action?
               and
        (5)    Would the defendant have reached the same employment decision in the absence
               of the protected conduct?

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Helget v. City of Hays, Kansas, 844 F.3d 1216, 1221-22 (10th Cir. 2017). “The first three steps

concern questions of law for the courts, and the last two concern questions of fact.” Id. at 1222.

Each of the first three steps weigh in favor of defendants and against Ricard.

         “[W]hen public employees make statements pursuant to their official duties, the employees

are not speaking as citizens for First Amendment purposes, and the Constitution does not insulate

their communications from employer discipline.” Garcetti, 547 U.S. at 421 (2006). Speech is made

pursuant to official duties if it is generally consistent with “the type of activities [the employee]

was paid to do.” Brammer-Hoelter v. Twin Peaks Charter Acad., 492 F.3d 1192, 1203 (10th Cir.

2007).

                1.      Speech in the public school setting.

         Courts are to “apply the First Amendment ‘in light of the special characteristics of the

school environment.’” Mahanoy Area Sch. Dist. v. B. L. by & through Levy, 141 S. Ct. 2038, 2044

(2021) (quoting Hazelwood School Dist. v. Kuhlmeier, 484 U.S. 260, 266 (1988) (internal

quotation mark omitted)). Among these special characteristics “is the fact that schools at times

stand in loco parentis, i.e., in the place of parents. Id., at 2044-45. Schools also have a special

interest in regulating speech that “materially disrupts classwork or involves substantial disorder or

invasion of the rights of others is, of course, not immunized by the constitutional guarantee of

freedom of speech. Tinker v. Des Moines Indep. Cmty. Sch. Dist., 393 U.S. 503, 513 (1969).

         The analysis begins first by recognizing that there are three main categories of speech that

occur within the school setting, (1) student speech,3 (2) government speech, and (3) school-

sponsored speech. Fleming v. Jefferson Cty. Sch. Dist. R-1, 298 F.3d 918, 923-24 (10th Cir. 2002).

Before exploring the contours of First Amendment protections, it necessary to recognize that the


3
  Student speech that “happens to occur on the school premises” is governed by Tinker v. Des
Moines Independent Community School District, 393 U.S. 503 (1969). Hazelwood, 484 U.S. at
271. As a teacher, Plaintiff Ricard’s conduct is not student speech.
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right to speak, the right to refrain from speaking, and the right to be free from compelled speech

are necessarily different in a school setting. Corder v. Lewis Palmer Sch. Dist. No. 38, 566 F.3d

1219, 1231 (10th Cir. 2009). Censorship of speech is no different than compelled or forced speech

under the First Amendment. Corder, 566 F.3d at 1232. Accordingly, Ricard’s claims of compelled

speech are subject to the same analysis.

        Government speech is “[a]t the opposite end of the spectrum” and, “[w]hen the government

speaks, it may choose what to say and what not to say.” Id. The Tenth Circuit articulated a four-

factor test to discern whether expression is government speech: (1) whether the “central purpose”

of the project is to promote the views of the government or of the private speaker; (2) whether the

government exercised “editorial control” over the content of the speech; (3) whether the

government was the “literal speaker”; and (4) whether “ultimate responsibility” for the project

rested with the government. Wells v. City & Cty. of Denver, 257 F.3d 1132, 1141 (10th Cir. 2001).

        Cases from the United States Supreme Court and the Tenth Circuit make clear that state

actors (i.e., public school teachers) cannot discriminate against persons (and particularly against

public school students) on the basis of sex/gender.

                 Between pure student speech and government speech is “school-sponsored”
        speech, which is governed by Hazelwood. School-sponsored speech is student
        speech that a school “affirmatively … promote[s],” as opposed to speech that it
        “tolerate[s].” Hazelwood, 484 U.S. at 270-71 “[E]xpressive activities that students,
        parents, and members of the public might reasonably perceive to bear the
        imprimatur of the school” constitute school-sponsored speech, over which the
        school may exercise editorial control, “so long as [its] actions are reasonably related
        to legitimate pedagogical concerns.” Id. at 271, 273.

Fleming, 298 F.3d at 923-24. “The imprimatur concept covers speech that is so closely connected

to the school that it appears the school is somehow sponsoring the speech.” Id., at 925. Pedagogical

concerns include activities that affect learning but are not confined to purely academic exercises

because pedagogical concerns include discipline, courtesy, and respect for authority. Id. It further

includes a “school district’s desire to avoid controversy within a school environment.” Id., at 925-
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26. “Indeed, the pedagogical concern in Hazelwood itself was to avoid the controversial subjects

of pregnancy and divorce in a school setting because of the potentially disruptive nature of such

subjects upon young students.” Id. at 926;

               2.      Ricard’s “speech” (addressing 8th-grade math students by name
                       during the regular class-time) is government speech over which the
                       District may exercise editorial control.

        “[T]he Government’s own speech … is exempt from First Amendment scrutiny.” Johanns

v. Livestock Mktg. Ass’n, 544 U.S. 550, 553 (2005). “The Free Speech Clause restricts government

regulation of private speech; it does not regulate government speech.” Pleasant Grove City, Utah

v. Summum, 555 U.S. 460, 467 (2009) (emphasis added). “It is the very business of government to

favor and disfavor points of view on (in modern times, at least) innumerable subjects ….” National

Endowment for Arts v. Finley, 524 U.S. 569, 598 (1998) (Scalia, J., concurring in judgment). The

District, here, can disfavor Plaintiff Ricard’s manner of addressing students (her claimed speech)

in a manner that discriminates on the basis of sex. Government speech is not restricted by the Free

Speech Clause. Pleasant Grove City, Utah v. Summum, 555 U.S. 460, 469 (2009).

        Ricard’s classroom speech was “speech relating to tasks within an employee’s uncontested

employment responsibilities” and “is not protected from regulation.” Brammer-Hoelter, 492 F.3d

at 1203. The “The ultimate question” is whether Ricard spoke “as a citizen or instead as a

government employee,” and where Ricard “engages in speech during the course of performing an

official duty and the speech reasonably contributes to or facilitates [Ricard’s] performance of the

official duty, the speech is made pursuant to [Ricard’s] official duties.” Id.

        The way Ricard addresses students in class is speech pursuant to Ricard’s official duties.

Under Garcetti and Brammer-Hoelter Ricard’s classroom speech was government speech

unprotected by the First Amendment.




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               3.      Even if viewed as school-sponsored speech, the manner in which
                       Plaintiff Ricard addresses students bears the imprimatur of the school
                       over which the school may exercise editorial control reasonably related
                       to legitimate pedagogical concerns.

        A middle school math classroom cannot be characterized as a public forum for public

expression. School facilities may be deemed a public forum only if school authorities, by policy

or by practice, open the facilities for indiscriminate use by the general public or by a segment of

the public. Where school facilities are reserved for other intended purposes, no public forum has

been created. School officials may impose reasonable restrictions on the speech of students,

teachers, and other members of the school community. Hazelwood, 484 U.S. at 267-69.

        A public school is permitted to compel school-sponsored speech, or to punish for the

misuse of school-sponsored speech, provided its decision is reasonably related to legitimate

pedagogical concerns. Corder, 566 F.3d at 1231; Axson–Flynn, 356 F.3d at 1290; Fleming, 298

F.3d at 926. Courts give substantial deference to a school district’s stated pedagogical concerns.

Corder, 566 F.3d at 1231; Axson–Flynn, 356 F.3d at 1290; Fleming, 298 F.3d at 925. A federal

court should play no role in judging the reasonableness of the sanctions which a school levies

against its employees. Vanderhurst v. Colorado Mountain Coll. Dist., 208 F.3d 908, 917 n.5 (10th

Cir. 2000); Miles, 944 F.2d at 779 (“[W]e will not interfere with the authority of the school officials

to select among alternate forms of discipline.”). “Rather, an adverse employment action reasonably

relates to a school’s legitimate pedagogical interests if the employee’s conduct prompting the

sanction, as perceived in good faith by the school, in some way violated or vitiated those legitimate

pedagogical concerns.” Vanderhurst, 208 F.3d at 917 n.5. The question is whether the speech that

USD 475 in good faith believed was uttered by Plaintiff Ricard violated the District’s policies

which embodied legitimate pedagogical concerns. Id. The answer is, “most assuredly so.”

        B.     Enforcing anti-discrimination policies is not an infringement upon religion.

        Claims that a law or government policy violates the right to free exercise of religion do not

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mandate that the Court apply strict scrutiny. The strict scrutiny standard requires the government

to justify a regulation or law with a compelling government interest and show that the law is

narrowly tailored to advance that interest. See Church of Lukumi Babalu Aye, Inc. v. City of

Hialeah, 508 U.S. 520, 546 (1993). Scrutiny does not apply to free-exercise claims where the

challenged law is neutral and generally applicable. “even if the law has the incidental effect of

burdening a particular religious practice.” Id. at 531. A neutral, generally applicable law “need

only be rationally related to a legitimate governmental interest to survive a constitutional

challenge.” Grace United Methodist Church v. City of Cheyenne, 451 F.3d 643, 649 (10th Cir.

2006).

         Where individualized exemptions from a general requirement are available, the

government may not refuse to extend that system to cases of religious hardship without compelling

reason. Lukumi, 508 U.S. at 537 (citing Emp. Div., Dep’t of Hum. Res. of Oregon v. Smith, 494

U.S. 872, 884 (1990)) (internal quotation marks omitted). Accord Fulton v. City of Philadelphia,

141 S. Ct. 1868, 1877 (2021). Nobody is, however, exempted from USD 475’s anti-discrimination

and anti-bullying policies. They are both neutral and generally applicable. Policy JGECB prohibits

discrimination on the basis of age, color, national origin, disability, ethnicity, socio-economic

status, sex, gender identity and sexual orientation. The District’s policies do no impose burdens

only on conduct motivated by religious belief.

         Plaintiff’s alleges that others have failed to use preferred names and pronouns without

being disciplined as she was. Plaintiff does not alleged, however, that the comparator (specifically

Jason Lubbers) (1) intentionally refrained from using preferred names and pronouns (2) to

intentionally treat transgender students differently on the basis of sex/gender.

         When there is no conflict between an employee’s religious belief and their actual job duties,

the employer had no duty to accommodate those beliefs. See Ansonia Bd. of Educ. v. Philbrook,

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479 U.S. 60, 76 (1986) (Stevens, J., concurring in part and dissenting in part) (internal quotations

omitted); see also Summers v. Whitis, 2016 WL 7242483, *1 (S.D. Ind. Dec. 15, 2016) (county

clerk need not accommodate employee who refused to process marriage licenses for same-sex

couples). Addressing a student is a simple, ministerial task which does not conflict with a teacher’s

religious beliefs.

        The Free Exercise Clause, as other provisions of the First Amendment, is “applied to the

states under the Fourteenth Amendment.” Green v. Haskell Cnty. Bd. of Comm’rs, 568 F.3d 784,

796 (10th Cir. 2009). “Depending on the nature of the challenged … government action, a free

exercise claim can prompt either strict scrutiny or rational basis review.” Axson–Flynn v. Johnson,

356 F.3d 1277, 1294 (10th Cir. 2004) (quotation omitted). Government action based upon neutral,

generally applicable rules are subject to rational basis review, even if the application of the neutral

rule “has the incidental effect of burdening a particular religious practice.” Church of Lukumi

Babalu Aye v. City of Hialeah, 508 U.S. 520, 531 (1993).

        USD 475’s anti-discrimination policies are neutral and generally applicable. The

Complaint does not allege the policies were adopted to burden religious belief or religious conduct.

See, e.g., 303 Creative LLC v. Elenis, 6 F.4th 1160, 1186 (10th Cir. 2021), cert. granted in part,

142 S. Ct. 1106, 212 L. Ed. 2d 6 (2022). 303 Creative held Colorado’s anti-discrimination in public

accommodations law was a neutral law of general applicability not subject to strict scrutiny for a

free exercise challenge. The partial grant of certiorari was limited to the question: “Whether

applying a public-accommodation law to compel an artist to speak or stay silent violates the Free

Speech Clause of the First Amendment.” 142 S. Ct. 1106. The free exercise holding in 303

Creative is not being reviewed and is final. Likewise, USD 475’s anti-discrimination policies are

neutral and of general applicability and are not subject to strict scrutiny for Ricard’s free exercise

challenge. The actions by the defendants were based upon neutral rules of general applicability

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and were rationally related to the District’s reasonable and legitimate pedagogical concerns

        Even if Ricard’s speech were not government speech and we proceed to the next steps in

the Garcetti/Pickering analysis. Brammer-Hoelter 492 F.3d at 1202. The manner in which Ricard

(a middle school math teacher) addresses middle school students while in school is not a matter of

public concern.. Step two reviews if the matter is of public concern. Id. If the speech is not a matter

of public concern, then the speech is unprotected, and the inquiry ends. Id. at 1203. But if the

employee speaks as a citizen on a matter of public concern, the court must then determine “whether

the employee’s interest in commenting on the issue outweighs the interest of the state as

employer.” Id.

        C.       Ricard’s mode of addressing middle school students id not a matter of public
                 concern.

        Ricard’s “speech” directed at students who request to be identified by a preferred name

and pronoun are not a matter of public concern. The mode of address—the name used to address

of these students is in the context of Ricard’s role as a teacher, not expression as a citizen on a

matter of public concern. The District’s policies do not prevent Plaintiff from sharing her personal

beliefs on the issues of transgenderism or gender identity outside of her duties as a middle school

math teacher.

        Because Plaintiff does not show that her speech is protected, her claims unrelated to the

now-rescinded “communication with parents policy” fail to state a claim upon which relief may

be granted.

III.    Ricard is not entitled to a religious “accommodation” that allows her to discriminate
        against transgender students.

        Plaintiff complains that the District discriminated against her by rejecting her request for a

religious accommodation and declined her version of the policy. The law does not require the

District to grant an accommodation to ignore a neutral and generally applicable policy. An


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“accommodation” for Plaintiff to address transgender students differently from cisgender students

is discrimination.

        Nor does the law require the District to change its neutral, generally applicable policy.

“[T]he mere failure of a government employer to accommodate the religious needs of an employee,

where the need for accommodation arises from a conflict with a neutral and generally applicable

employment requirement, does not violate the Free Exercise Clause ….” Shrum v. City of Coweta,

Okla., 449 F.3d 1132, 1143 (10th Cir. 2006).

        Where nondiscrimination is at issue, a school does not violate the First or Fourteenth

Amendments of others by requiring that everyone comply with the nondiscrimination policy.

Christian Legal Soc. Chapter of the University of California, Hastings College of the Law v.

Martinez, 561 U.S. 661, 698 (2010). (A law school’s policies of requiring officially recognized

student groups to comply with the school’s nondiscrimination policy, enforced by requiring the

admission of “all comers” to such student groups, did not violate the organization’s First and

Fourteenth Amendment rights to free speech, expressive association, and free exercise of religion

because the “all comers” policy was viewpoint neutral.) The enforcement of the District’s anti-

discrimination policies and denial of Ricard’s request to do otherwise does not impinge the free

exercise of religion.

        The Complaint does not plausible allege Ricard’s religious beliefs were a motivating factor

in the District’s decision to suspend her. The District suspended Plaintiff for three days when she

intentionally discriminated against a transgender student in her classroom on April 7 and 8, 2021

in violation of multiple District policies. It is the plaintiff’s burden to show religious beliefs were

a motivating factor in the adverse employment action. See Brammer-Hoelter, 492 F.3d at 1207.

        Plaintiff advances the premise that she was somehow targeted by the District for her

religious beliefs. Doc. 1, ¶ 247. That conclusory allegation does not follow from the facts alleged

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and the incorporated documentation in the record. Ricard was invited to share concerns with

Principal Mott regarding the preferred name directive,4 Ricard did not do so. See Doc. 1-1. Ricard

first raised religious concerns when preparing for the Level Four grievance hearing on July 8,

2021. Doc. 1-10, p. 2. It is not plausible to suggest Ricard was suspended in April 2021 for

religious convictions she first expressed in July 2021. It is notable that Ricard never denied the

factual basis for her suspension—that she discriminated by treating transgender students

differently than cisgender students. Plaintiff cannot meet her burden to show that the adverse action

taken against her was in retaliation of her religious beliefs.

IV.    Ricard’s free exercise claim is moot.

       Ricard’s free exercise claim for money damages fails because she was not subjected to any

adverse action or injury because of the Communication with Parents Policy. Ricard was not

disciplined for violating the Communication with Parents Policy. The claim for injunctive and

declaratory relief are moot and must be dismissed.

       The claims for declaratory and injunctive relief become moot if circumstances change such

that the defendants are not “actually situated to have their future conduct toward the plaintiff

altered by the court’s declaration of rights.” Jordan v. Sosa, 654 F.3d 1012, 1025–26 (10th Cir.

2011). Mootness is a threshold issue because the existence of a live case or controversy is a

constitutional prerequisite to federal court jurisdiction. Rio Grande Silvery Minnow v. Bureau of

Reclamation, 601 F.3d 1096, 1109 (10th Cir. 2010). “Article III’s requirement that federal courts

adjudicate only cases and controversies necessitates that courts decline to exercise jurisdiction

where the award of any requested relief would be moot—i.e. where the controversy is no longer

live and ongoing.” Cox v. Phelps Dodge Corp., 43 F.3d 1345, 1348 (10th Cir. 1994), superseded


4
  “When we have a student that requests to go by a preferred name that is different than their given
name, our district honors the request. Once you are aware of a preferred name, use that name for
the student. Please let me know what question you have.” Doc. 1-1.
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by statute on other grounds. “A claim is moot when no reasonable expectation exists that the

alleged violation will recur and interim relief of events have eliminated the effects of the alleged

violation.” Committee for the First Amendment v. Campbell, 962 F.2d 1517, 1524 (10th Cir. 1992).

          The Communications with Parents Policy has been rescinded and Ricard is no longer

employed by the District. The claims are moot.

V.        Ricard was not deprived of due process. Ricard was not deprived of any protected
          interest and Ricard was afforded extensive due process protections that far exceeded
          the minimum necessary to satisfy constitutional requirements.

          Ricard’s claim that the District denied her due process under the Fourteenth Amendment

fails on the merits. The District provided Ricard notice of the basis for the suspension and

reprimand before it was imposed. Ricard was then afforded a five-level grievance procedure which

afforded her due process at every level.

          The Tenth Circuit has a two-step inquiry to determine if an individual was denied

procedural due process. See e.g., Brammer-Hoelter, 492 F.3d 1192, 1209 (10th Cir. 2007). First,

did the individual possess a protected interest such that the due process protections were

applicable; and, if so, then was the individual afforded an appropriate level of process. Id.

          A.     Plaintiff was not deprived of any protected interest.

          The complaint bases the due process claim on assertions she was disciplined for violating

policies that did not require the use of students’ preferred names or pronouns. The complaint

allege:

          By punishing and threatening to punish Ms. Ricard under vague, overbroad,
          retroactive, and/or constantly changing policies for her expression in and out of the
          classroom, Defendants have violated and are violating Ms. Ricard’s right to due
          process of law under the Fourteenth Amendment.

Complaint, Doc. 1, ¶ 256.

          Under the Fourteenth Amendment, a state may not “depriv[e] a party of ‘property without

due process of law.’” Hyde Park Co. v. Santa Fe City Council, 226 F.3d 1207, 1210 (10th Cir.

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2000) (quoting U.S. Const. amend. XIV, § 1). “[T]o prevail on either a procedural or substantive

due process claim, a plaintiff must first establish that a defendant’s actions deprived plaintiff of a

protectible property interest.” Id. For the purposes of substantive due process, the plaintiff’s

property interest must be “fundamental.” Hennigh v. City of Shawnee, 155 F.3d 1249, 1257 (10th

Cir. 1998). The Tenth Circuit has not held an employee’s property interest in government

employment implicates the substantive due process clause. Potts v. Davis Cnty., 551 F.3d 1188,

1196 n.1 (10th Cir. 2009).

        The fundamental requirement of due process is the opportunity to be heard at a meaningful

time and in a meaningful manner.” Mathews v. Eldridge, 424 U.S. 319, 333 (1976) (internal

quotations marks omitted). Thus, a hearing is generally required before a person may be deprived

of a protected interest. Smith v. Org. of Foster Families for Equal. & Reform, 431 U.S. 816, 848

(1977). Courts look to state law to determine whether a property interest exists. Brammer-Hoelter

v. Twin Peaks Charter Acad., 492 F.3d 1192, 1209 (10th Cir. 2007). Such an interest can arise

from “state statutes, regulations, municipal ordinances, university rules, and even express or

implied contracts.” Anglemyer v. Hamilton County Hosp., 58 F.3d 533, 536 (10th Cir. 1995).

        The Negotiated Agreement clearly affords teachers a property interest in continued

employment and imposes procedures for the termination of employment. See Doc. 1-8, Article

XIII – Reduction in Force; Article XV – Due Process Rights (“all contracts continue for the next

succeeding school year absent notice of termination or non-renewal”). The claim here, however,

does not involve a deprivation of a property interest in continued employment. Ricard was, instead,

suspended for three days with pay. That suspension did not, in turn, cause or lead to a deprivation

of Ricard’s property interest in continued employment.

        In Gilbert v. Homar, the Supreme Court noted it had “not had occasion to decide whether

the protections of the Due Process Clause extend to discipline of tenured public employees short

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of termination.” 520 U.S. 924, 929 (1997). Gilbert assumed, without deciding, that suspension

without pay of a government employee (who had a protected property interest in his continued

employment), amounts to a property deprivation sufficient to implicate due process protections.

Id. The Tenth Circuit has done likewise—assuming a property interest without deciding the issue.

Kirkland v. St. Vrain Valley Sch. Dist. No. Re-1J, 464 F.3d 1182, 1191 (10th Cir. 2006). The Tenth

Circuit held, however, that an at-will employee does not have a property interest in a government

employer’s written discipline procedure. Williams v. McKee, 655 Fed.Appx. 677, 687 (10th Cir.

2016).

         Ricard had no property interest to be free of discipline that did not result in the deprivation

of a property interest in continued employment which is, itself dispositive of Ricard’s due process

claim.

         B.     Plaintiff was afforded adequate process.

         Even if Ricard had a protected property interest, she was afforded adequate process at every

step in the process of her suspension—she was afforded written notice, a meeting with the

Principal, and a five-level grievance process. The fundamental requirement of due process is the

opportunity to be heard “at a meaningful time and in a meaningful manner.” Mathews v. Eldridge,

424 U.S. 319, 333 (1976) (internal citations omitted). The essence of due process is the

requirement that “a person in jeopardy of serious loss [be given] notice of the case against him and

opportunity to meet it.” Id. at 348.

         The requirements for constitutionally adequate due process encompass notice of the

charges, an explanation of the employer’s evidence, and an opportunity to present the employee’s

side of the story. Cleveland Board of Educ. v. Loudermill, 470 U.S. 532, 546 (1985). The notice

must be reasonably calculated, under all the circumstances, to apprise interested parties of the

pendency of the action and afford them an opportunity to present their objections. Aacen v. San


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Juan County Sheriff’s Dept., 944 F.2d 691, 697 (10th Cir. 1991). It must permit adequate

preparation for the impending hearing. Id.

       Ricard’s rights are defined in the Formal Agreement For School Year 2020-2021. Doc. 1-

8. Article X – Teacher Discipline of the Agreement between USD 475 and JCEA, Section C states:

       Discipline of a teacher will be progressive and/or sequential, and appropriate to the
       severity of the infraction, except in those situations that constitute a breach of board
       policy that could impair the effective operation of the school, or a potential
       criminal violation.

Doc. 1-8, pp. 34-35 (emphasis added). The Agreement also states that informal disciplinary actions

are only taken as a first step “in situations of a minor nature.” Id. at 34.5 The disciplinary steps

detailed in Art. X § C state that counseling shall be the first step “to a minor infraction such as:

lateness to work, professionalism, or professional responsibilities.”

       Ricard was notified on April 9, 2021, of the school’s decision to suspend her, with pay, for

three days. Doc. 1-3. Ricard was given a list of the policies she violated and an explanation as why

she was being suspended. Id. Ricard was given both pre-suspension and post-suspension notice of

the charges alleged against her. She was advised of the following specifics:

       • Board Policy GAACB-Diversity and Inclusion
       • All employees, students and the Board of Education of Geary County USD 475
       have a responsibility to treat others with dignity and respect. All employees,
       students and the Board of Education are expected to exhibit conduct that reflects
       dignity, respect and inclusion at all times during the instructional day and at all
       other district-sponsored programs and events.
               o The student preferred name was not used by Mrs. Ricard.
       • Board Policy GAAE- Bullying by Staff
       • Section 1. K.S.A. 2007 Supp. 72-8256 is hereby amended to read as follows: 72-
       8256. (a) As used in this section: (1) “Bullying” means: (A) Any intentional gesture
       or any intentional written, verbal, electronic or physical act or threat that is
       sufficiently severe, persistent or pervasive that creates an intimidating, threatening


5
  Article X, § C.1 states:
         Counseling shall be the first step to a minor infraction such as; lateness to work,
         professionalism or professional responsibilities. Documentation may occur for
         record, but no written record will be placed in the professional employee’s
         personnel file.
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        or abusive educational environment for a student or staff member that a reasonable
        person, under the circumstances, knows or should know will have the effect of:
                i. Harming a student or staff member, whether physically or mentally;
                ii. Damaging a student’s or staff member’s property:
                iii. Placing a student or staff member in reasonable fear of harm to the
                student or staff member; or
                iv. Placing a student or staff member in reasonable fear of damage to the
                student’s or staff member’s property;
                o Students felt discriminated against based on the teacher not using the
                preferred names.
        • Board Policy GAF-Staff-Student Relations
        • Staff members shall maintain professional relationships with students which are
        conducive to an effective educational environment. Staff members shall not submit
        students to bullying, harassment, or discrimination prohibited by board policy.
        Staff members shall not have any interaction of an inappropriate and/or sexual
        nature with any student at any time regardless of the student’s age or consent.
                o Student ( ) was not called by his preferred name after Mrs. Ricard received
                notification emails from a student and the counselor. Prior to the
                notification, Mrs. Ricard called the student by their legal name. After
                notification, Mrs. Ricard called the student by their last name.

Doc. 1-4 (emphasis added).

        Ricard was afforded due process—she was afforded five steps of a grievance policy and

exercised her contractual right to be heard at every step of the process. Ricard’s claims suggest she

is claiming she was improperly disciplined for violating the District’s preferred name policy.

While the use of preferred names is certainly involved, it was Ricard’s intentional discriminatory

treatment on the basis of sex/gender that resulted in discipline, not the mere failure to use a

student’s preferred name or pronouns. District policy (regardless of any directives about preferred

names and pronouns) required respectful treatment of the transgender students while also

prohibiting harassment in discrimination. Ricard never disputed she treated the students differently

because of sex/gender (a refusal to acknowledge them as transgender).

        While defendants contend Ricard had no property interest requiring due process, the

process afforded to her far surpassed the process constitutionally required. Gilbert v. Homar held

a public employee was not entitled notice and a hearing before suspending a tenured public

employee for several weeks without pay pending an investigation. 520 U.S. at 932. Even if it were

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arguable that Ricard’s suspension and reprimand were excessive or improper under the Negotiated

Agreement (which they are not), the grievance process provided in the collective bargaining

agreement satisfies due process. Montgomery v. City of Ardmore, 365 F.3d 926, 938 (10th Cir.

2004), and Hennigh v. City of Shawnee, 155 F.3d 1249, 1256 (10th Cir. 1998).

VI.     The Complaint fails to state an equal protection claim.

        The complaint bases the equal protection claim on alleged disparities in disciplining Ricard

for failing to use a student’s preferred name when not disciplining other staff who had failed to do

so.

        To prevail on a claim under § 1983, a plaintiff must prove (1) the deprivation of a federal

right by (2) a person acting under color of state law. Watson v. City of Kansas City, Kan., 857 F.2d

690, 694 (10th Cir. 1988). Under the Equal Protection Clause, there is a critical difference in the

analysis when the government acts as the employer managing its internal operation versus between

the government use of power to regulate, license, or make laws. Engquist v. Oregon Dep’t of Agr.,

553 U.S. 591, 598 (2008). This distinction is especially significant when reviewing of state action

in the context of public employment where “the government as employer indeed has far broader

powers than does the government as sovereign.” Waters v. Churchill, 511 U.S. 661, 671 (1994)

(plurality opinion). “[T]he extra power the government has in this area comes from the nature of

the government’s mission as employer. Government agencies are charged by law with doing

particular tasks. Agencies hire employees to help do those tasks as effectively and efficiently as

possible.” Id., at 674-675.

        The Equal Protection Clause is concerned with governmental classifications that “affect

some groups of citizens differently than others,” especially those in “an identifiable group.”

Engquist, 553 U.S. at 601 (quotations omitted). “To treat employees differently is not to classify

them in a way that raises equal protection concerns. Rather, it is simply to exercise the broad


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discretion that typically characterizes the employer-employee relationship.” Id. at 605. “[T]he

Equal Protection Clause is implicated when the government makes class-based decisions in the

employment context, treating distinct groups of individuals categorically differently” but not in

the employment context “where, as here, government employers are alleged to have made an

individualized, subjective personnel decision in a seemingly arbitrary or irrational manner.” Id.

        The Complaint does not allege Ricard was treated differently on the basis of any suspect

class. The comparator in the Complaint does not allege any other District staff intentionally

discriminated against transgender students without consequence.

        The note sent out by school administrators stated that “every effort will be made to

remember their preferred name and pronoun; however, patience and understanding will be

required.” Ricard was not disciplined for accidentally failing to use a student’s preferred name.

Rather, Ricard intentionally addressed the transgender student differently than the cisgender

students—because she didn’t want to acknowledge them as transgender. The complaint does not

identify any other person doing the same without consequence (indeed, Ricard agreed to refrain

doing so thereafter). Teachers who unintentionally misname a student are not similarly situated to

Plaintiff. Thus, the Complaint does not identify an employee is similarly situated to the plaintiff

that was treated differently for the same conduct.

        The equal protection claim should be dismissed.

VII. The District did not breach any contract with Ricard.

        The Complaint alleges the District violated the contract between the District and the

Junction City Education Association (the Agreement). Ricard argues the investigation and

subsequent disciplinary action of her conduct was a breach under the terms of the Agreement. Doc.

1, pp. 45-46, ¶¶ 281-82. Local school boards have broad discretion in the management of school

affairs. Bd. of Educ., Island Trees Union Free Sch. Dist. No. 26 v. Pico, 457 U.S. 853, 863 (1982).


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The Board’s denial of Plaintiff’s grievance action falls within that discretion. Article X – Teacher

Discipline of the Agreement between USD 475 and JCEA, Section C states:

        Discipline of a teacher will be progressive and/or sequential, and appropriate to the
        severity of the infraction, except in those situations that constitute a breach of board
        policy that could impair the effective operation of the school, or a potential
        criminal violation.

Doc. 1-8, pp. 34-35 (emphasis added). The Agreement also states that informal disciplinary actions

are only taken as a first step “in situations of a minor nature.” Id at 34. The disciplinary steps

detailed in Art. X § C state that counseling shall be the first step “to a minor infraction such as:

lateness to work, professionalism, or professional responsibilities.”

        Here, the building Principal, Superintendent Eggleston, and the School Board all reviewed

the incident and concluded that Ricard’s actions (which are not disputed by Ricard in the

Complaint) were not of a “minor nature” and the elevated discipline of suspension and reprimand

was warranted. Ricard does not dispute her conduct, she merely contends it a “minor” infraction.

The distruption caused by Ricard’s conduct is clearly set forth in the records attached to the

Complaint—student’s complained during class to Ricard, to other staff. Students complained after

class to other staff. Ricard was repeatedly notified that she was to call students by their preferred

name and pronouns and yet choose to ignore the directives. Such conduct “could impair the

effective operation of the school” which doe not require that the District start with just an oral

reprimad. “[T]the Government, as an employer, must have wide discretion and control over the

management of its personnel and internal affairs. This includes the prerogative to remove

employees whose conduct hinders efficient operation and to do so with dispatch.” Arnett v.

Kennedy, 416 U.S. 134, 168 (1974) (Powell, J., concurring).

        Nothing within the Negotiated Agreement precludes the conclusion reached by the District

Administration—that Ricard’s conduct was not minor. The District was within its discretion to

issue the suspension. There is no question that the District followed the proscribed procedures for
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imposing the discipline and the grievance process that ensued. There was no breach of contract.

See Doc. 1-8, Art. IV – Grievance Procedure, pp. 10-12.

VIII. The individual defendants are entitled to qualified immunity.

       Defendants Ron Johnson, Kristy Haden, Anwar Khoury, Jim Schmidt, Beth Hudson, Mark

Hatcher, Jason Butler, and Reginal Eggleston are entitled to qualified immunity.6 They were each

acting in their official capacity as board members during the events at issue in this case.

       “Personal-capacity suits seek to impose personal liability upon a government official for

actions he takes under color of state law.” Kentucky v. Graham, 473 U.S. 159, 165 (1985). Under

the doctrine of qualified immunity, government officials who perform discretionary functions are

shielded from individual liability unless their conduct violates “clearly established statutory or

constitutional rights of which a reasonable person would have known.” Harlow v. Fitzgerald, 457

U.S. 800, 818 (1982). The doctrine gives government officials immunity from lawsuits themselves

rather than a mere defense to liability. Mitchell v. Forsyth, 472 U.S. 511, 526 (1985). “Qualified

immunity gives government officials breathing room to make reasonable but mistaken judgments,”

and “protects ‘all but the plainly incompetent or those who knowingly violate the law.’” Ashcroft

v. al-Kidd, 563 U.S. 731, 743 (2011) (quoting Malley v. Briggs, 475 U.S. 335, 341 (1986)).

       A suit against a government official in his or her personal capacity cannot lead to

imposition of fee liability upon the governmental entity. Graham, 473 U.S. at 167. Congress

rejected making § 1983 a “mutual insurance” scheme and a relief fund for lawyers. Id. at 168.

       Qualified immunity from personal damage liability “gives government officials breathing

room to make reasonable but mistaken judgments about open legal questions.” Ashcroft v. al-Kidd,

563 U.S. 731, 743 (2011). “Qualified immunity attaches when an official’s conduct does not


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  The Complaint names Kathleen Brennan only in her official capacity and seeks only injunctive
relief against her. To the extent Plaintiff seeks monetary damages, Brennan is also entitled to
qualified immunity.
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violate clearly established ... constitutional rights of which a reasonable person would have

known.” White v. Pauly, 580 U.S. 73, 137 S. Ct. 548, 551 (2017).

        Because qualified immunity is the “norm” in private actions against public officials, there

is a presumption of immunity when the defense is raised. Pahls v. Thomas, 718 F.3d 1210, 1227

(10th Cir. 2013) (citation omitted). When a defendant claims qualified immunity, the plaintiff

bears the “heavy two-part burden” of showing (1) the defendant’s violation of a constitutional

right; and (2) that the “infringed right at issue was clearly established at the time of the allegedly

unlawful activity such that a reasonable [official] would have known that his or her challenged

conduct was illegal.” Martinez v. Carr, 479 F.3d 1292, 1294–95 (10th Cir. 2007) (citations

omitted).

        “‘[C]learly established law’ should not be defined ‘at a high level of generality.’” White v.

Pauly, 137 S. Ct. at 552 (quoting al–Kidd, 563 U.S. at 742). “[T]he clearly established law must

be ‘particularized’ to the facts of the case.” Id. (quoting Anderson v. Creighton, 483 U.S. 635, 640

(1987)). “To be clearly established, “existing precedent must have placed the statutory or

constitutional question beyond debate.’” Id. at 551 (quoting Mullenix v. Luna, 577 U.S. 7, 12

(2015)). Here, the law was not “clearly established” that the individual defendants’ conduct would

violate the First Amendment. See, e.g., Reichle, 566 U.S. at 664-65.

        The individual defendants are entitled to judgment because (1) Ricard’s speech was not

protected by the First Amendment and (2) the law on that legal issue was not sufficiently clear that

every reasonable official in defendants’ position(s) would have understood that they were violating

Ricard’s First Amendment rights. See Reichle v. Howards, 566 U.S. 658, 664 (2012). There is a

fundamental inquiry whether the plaintiff speaks as an employee or as a citizen. David v. City and

Cty. of Denver, 101 F.3d 1344, 1355 (10th Cir. 1996) (citing Connick, 461 U.S. at 147). When

distinguishing between employee or citizen speech, “courts must consider the ‘content, form, and

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context of a given statement, as revealed by the whole record.’” Id. (quoting Connick, 461 U.S. at

147–48). As discussed above, Speech made “pursuant” to an employee’s duties—such as

addressing middle school students during a math class—is not accorded First Amendment

protection. Garcetti, 547 U.S. at 420–21. Given the content, form, and context of Ricard’s alleged

speech defendants could have logically and rationally believed it was government and/or school-

sponsored speech unprotected by the First Amendment. Thus, the individual defendants are

entitled to qualified immunity. Singh v. Cordle, 936 F.3d 1022, 1036 (10th Cir. 2019)

(administrator who could reasonably believe under Circuit precedent that speech was not protected

was entitled to qualified immunity).

                                           Conclusion

        For the foregoing reasons, the Complaint should be dismissed for failure to state a claim

upon which relief may be granted.

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                                       Certificate of Service

       I hereby certify that I electronically filed the foregoing on the 27 day of May, 2022, with
the Clerk of the Court by using the CM/ECF system, which will send a notice of electronic filing
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